Case 2:17-cv-07004-JLS-SHK Document 41 Filed 10/14/21 Page 1 of 1 Page ID #:5100




   1
   2
   3


                                                                    JS-6
   4
   5
   6
   7
   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11
 12     LYNETTE PENNINGTON,                         Case No. 2:17-cv-07004 JLS-SHK

 13                               Petitioner,
                                                    JUDGMENT
 14                        v.

 15     D.G. ADAMS,
 16                               Respondent.
 17
 18          Pursuant to the Order Accepting Findings and Recommendation of United
 19    States Magistrate Judge,
 20          IT IS HEREBY ADJUDGED that this action is DISMISSED with prejudice.
 21
 22    Dated: October 14, 2021
 23                                             HONORABLE JOSEPHINE L. STATON
 24                                             United States District Judge

 25
 26
 27
 28
